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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :
                                             :       VIOLATIONS:
                                             :
ROBERT MORSS,                                :       18 U.S.C. § 111, 2
                                             :       (Assaulting, resisting, or impeding certain
                                             :       officers or employees)
Defendant.                                   :
                                             :       18 U.S.C. § 231(a)(3)
                                             :       (Civil Disorder)
                                             :
                                             :       18 U.S.C. § 2112
                                             :       (Robbery of Personal Property of the
                                             :       United States)
                                             :
                                             :       18 U.S.C. § 1512(c)(2)
                                             :       (Obstruction of an Official Proceeding)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Charles Rooney, being first duly sworn, hereby depose and state as follows:

                                 PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging Robert

Morss (“MORSS”) with violations of 18 U.S.C. §§ 111, 2, 231(a)(3), 2112, and 1512(c)(2).

                                   AGENT BACKGROUND

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have

been since 2008. I am currently assigned to a squad that investigates violent crimes out of the

FBI’s Violent Crimes Task Force of the Washington, D.C. Field Office. During my participation

in law enforcement, I have conducted arrests and obtained search warrants and court orders. I
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have investigated crimes involving bank robberies, armored car robberies, assaults, carjackings

kidnappings, and threats, which have resulted in arrests and convictions.

       3.      I am one of the investigators assigned to an ongoing investigation by the FBI,

United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”), and other law

enforcement agencies, of riots and civil disorder that occurred on January 6, 2021, in and around

the United States Capitol grounds. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other law enforcement

officers and witnesses. Except as explicitly set forth below, I have not distinguished in this

affidavit between facts of which I have personal knowledge and facts of which I have hearsay

knowledge. This affidavit is intended to show simply that there is sufficient probable cause for

the requested arrest warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.

       6.      The United States Capitol is secured 24 hours a day by security barriers and

USCP occupy various posts throughout the grounds. Restrictions around the United States

Capitol include permanent and temporary security barriers and posts manned by USCP. USCP
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officers wore uniforms with clearly marked police patches, insignia, badges, and other law

enforcement equipment. Only authorized people with appropriate identification are allowed

access inside the United States Capitol. On January 6, 2021, the exterior plaza of the United

States Capitol was also closed to members of the public.

       7.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.

       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings
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of the United States Congress, including the joint session, were effectively suspended until

shortly after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the

unlawful entry to the United States Capitol, including the danger posed by individuals who had

entered the United States Capitol without any security screening or weapons check,

Congressional proceedings could not resume until after every unauthorized occupant had left the

United States Capitol, and the building had been confirmed secured. The proceedings resumed

at approximately 8:00 p.m. after the building had been secured. Vice President Pence remained

in the United States Capitol from the time he was evacuated from the Senate Chamber until the

sessions resumed.

       11.     After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

       12.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the United

States Capitol building without authority to be there.

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

        13.    An individual wearing tan camouflage clothing with a tactical style vest, scissors

tucked in the front of the vest, tan gloves, and at times a red baseball style hat, who was

subsequently identified as MORSS, as explained below, can be seen in multiple photos by the

media on January 6, 2021, such as the ones below taken near the National Monument before the

Capitol was stormed. MORSS had curly hair sticking out the side of his hat and wore clear
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goggles at times. MORSS also had a blue patch on his right shoulder and appeared to be

wearing a weightlifter’s belt. As explained below, MORSS is subsequently captured on video

near the frontline of rioters who pushed past police guarding the Capitol, organizing a shield

wall in the violent attack on officers inside the Lower West Terrace tunnel, and entering into the

Capitol through a broken window.




       14.     As captured on USCP surveillance, police Body Worn Camera (“BWC”) footage,

and various videos posted to social media and YouTube, on January 6, 2021, law enforcement to

include USCP and MPD were along a temporary fence line in the Lower West Terrace area of

the Capitol. Law enforcement stood behind the metal fencing shoulder to shoulder. As time

moved on, the crowd started to push and tear down the fencing separating them and law

enforcement. Law enforcement attempted to push back and reestablish the fence line. During

this time objects were thrown at officers, physical assaults occurred, and chemical irritants were
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used. By around 2:40 p.m., the crowd of rioters eventually pushed through the fence line and

law enforcement were forced to retreat.

       15.     MORSS is visible in this crowd early on. For example, around 2:09 p.m., a few

minutes after the crowd can be seen on BWC footage unsuccessfully trying to violently push

through the fence separating the crowd from the Capitol and while officers are repeatedly asking

the crowd to back up, MORSS can be seen on BWC footage. As captured on BWC footage,

after being asked to back up, MORSS grabs the officer’s baton and tries to rip it away, as shown

in the still below with a red arrow above MORSS. (MORSS does not appear to be successful in

ripping away the baton.)




At approximately 2:11 p.m., MORSS can be seen near the front of the crowd on BWC footage

again, as shown in the still below.
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       16.     At approximately 2:14 p.m., MORSS can be seen on BWC footage again. On the

video, he comes up behind those at the front line of the crowd facing law enforcement and stands

there for about a minute. MORSS then seems to speak to the person to his right (who appears to

be one of the same individuals he was photographed with near the National Monument earlier)

and then to the person on his left. The person to his left can be seen nodding as if in response. A

few seconds later, as shown in the still below, MORSS reaches through the crowd and grabs the

fence being held by the MPD officer and being used to keep the crowd back. As seen on the

video, MORSS then rips the fence out of the hands of the officer, with the assistance of the other

rioters, including the one that appeared to nod in response to something MORSS said right

before grabbing the fence. MORSS then retreats back into the crowd with the fence.
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       17.     At approximately 2:26 p.m., MORSS can again be seen on BWC footage. While

wearing a neck gaiter covering his mouth, it appeared as though MORSS was addressing the

officers and can be heard saying, “You guys are betraying us. You get paid enough to betray

your people?” MORSS then points and says, “look they are coming in over there.” As shown in

the still below, MORSS then says “This is our Capitol. This is our Capitol.”
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       18.     Then around 2:30 p.m., after the crowd again surged forward and pushed the

officers further back, MORSS can be seen on BWC footage at the front of the rioters waiving a

yellow flag, as captured in the still below with a red box around MORSS. MORSS can be heard

telling the officers: “take a look around, back up, we are going to take our Capitol back.”




       19.     Around 2:33 p.m., as captured on BWC footage, as the crowd of rioters continued

to advance and law enforcement began to retreat, MORSS and two unidentified individuals

struggled over a black flag pole with an MPD officer, as shown in the still below with a red

arrow above MORSS.
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       20.     Around 15 seconds later, as captured on BWC footage, a helmet visor was thrown

at an MPD officer presumably from someone in the crowd, the MPD officer attempted to pick up

the visor off the ground. MORSS grabbed the visor as well and attempted to pull it out of the

MPD officer’s hands. The MPD Officer was able to pull away with the visor. At that point,

MORSS lunged forward and grabbed the visor again; MORSS and unidentified individuals then

tried to rip the visor out of the officer’s hand. (This is shown in the stills below with a red box

around MORSS.) The MPD officer then regained control of the visor.
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       21.     As captured on BWC and surveillance footage, the rioters continued to move

forward, yelling at officers to retreat. Around 2:35 p.m., MORSS can be seen on BWC footage

near the front lines of the rioters surrounding the officers, as shown in the still below with

MORSS (marked by a red arrow) motioning at the officers to retreat while holding a yellow flag.




       22.      By 2:40 p.m. on January 6, 2021, rioters had engulfed the west side of the United

States Capitol and were climbing on the scaffolding in front of building as well as various

features of the building. Although the Capitol Building had already been breached and rioters

had flooded in through several entrances, a group of MPD officers and members of the USCP or

other agencies had been able to hold their position and deny entry through the very prominent

entrance of the Lower West Terrace. To enter the United States Capitol through the Lower West

Terrace, one must walk through a short tunnel with a series of glass doorways. Around 2:40

p.m., a group of officers were maintaining a line at the second set of glass doors inside the

tunnel. Officers reporting to the scene rushed to the tunnel from within the building while rioters

outside of the tunnel continued to summon more men to push their way through the tunnel. A

growing number of rioters made their way into the tunnel with a variety of tools and weapons.

The tunnel became the point of an intense and prolonged clash between rioters and law
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enforcement at the United States Capitol. Many of the rioters in the tunnel were recording video

and many of the videos circulated and continue to circulate on Internet channels, social media,

and the news.

       23.      Portions of the rioters’ effort in the tunnel to get through the Lower West Terrace

doors were captured both in video surveillance from USCP camera in the tunnel and in video

footage posted to YouTube (hereinafter, YouTube Video 1). In YouTube Video 1, which was

filmed by a member of the press and reviewed by your affiant, a large group of rioters attempted

to break through the line of uniformed law enforcement officers who were in place to prevent

rioters from entering the Lower West Terrace door of the United States Capitol. Law

enforcement officers were at the front of the doors inside the tunnel attempting to stop numerous

rioters from gaining access to the U.S. Capitol.

       24.      At approximately, 2:57 p.m., MORSS is visible in USCP surveillance footage at

the entrance of the tunnel, where he stays for the next few minutes. MORSS can be seen in this

surveillance footage with both the same yellow flag and goggles that he is pictured with in the

BWC footage described above.

       25.      As captured on USCP surveillance footage, MORSS hung back by the entrance

to the tunnel for a few minutes. Then around 3:02 p.m., he pushed his way forward towards the

line of officers guarding the Lower West Terrace doors to the Capitol.

       26.      As captured on YouTube Video 1, MORSS joined the rioters directly confronting

the officers guarding the Lower West Terrace doors. MORSS then grabbed an MPD Officer’s

shield, as shown in the still below with a red box around MORSS.
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       27.     As captured on YouTube Video 1, MORSS continued pushing and pulling against

law enforcement shields and the officers holding those shields for the next few minutes, as

shown in the still below with a red box around MORSS.




       28.     As captured on YouTube Video 1, MORSS, with the assistance of other rioters

then began to rip the USCP riot shield away from an MPD officer, while he (or someone near
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him) yelled “send the shield back, send the shield back!” Together, MORSS and the rioters

assisting him successfully ripped the USCP riot shield from the MPD officer. Then, around 3:05

p.m. as seen in USCP surveillance footage, MORSS carried the shield away MORSS then

passed the shield back to the rioters behind him, who passed it back into the crowd, as captured

in the still below with a red box around MORSS.




       29.     As captured on USCP surveillance footage, at approximately 3:06 p.m., MORSS

then walked out of the tunnel and into the crowd near the arch entrance to the tunnel. As

captured in a video posted to YouTube, hereinafter YouTube Video 2, upon exiting the tunnel,

MORSS was seen on the steps that lead to the tunnel. He started to speak with other rioters.
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MORSS yelled into the crowd, “shield wall” and started yelling for people to pass up police riot

shields, as shown in the still from YouTube Video 2 below.




       30.     As shown in YouTube Video 2, shields were then passed from the crowd to

MORSS and others by the tunnel’s front entrance. The shields were then passed to the rioters at

the front of the line confronting the officers guarding the doors with MORSS then quickly

returning into to the tunnel to apparently direct the activity, as shown in the still below from

surveillance video with a red box around MORSS.




       31.     MORSS re-entered the tunnel at approximately 3:07 p.m., as captured on

surveillance footage. As captured in a video posted to YouTube, hereinafter YouTube Video 3,
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which shows the same activity as the USCP surveillance footage from a different angle, MORSS,

as shown in the still below with a red box around him, entered the tunnel and started to instruct

rioters who had shields in their possession to organize a shield wall. MORSS yelled out: “Hey,

everyone with a shield, back up and organize! Make a shield wall! Organize right now and make

a shield wall. Where are those fucking shields!”




       32.     As shown in USCP surveillance footage and YouTube Video 3, MORSS then

walked toward the front of the tunnel bracing both arms on the back of the person directly in

front of him and began pushing forward, as shown in the still from YouTube Video 3 below with

a red box around MORSS’s hand pushing forward on the rioter directly in front of him.

MORSS then pushed with the crowd together as they pushed in unison attempting to break past

the officers guarding the Lower West Terrace doors.
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       33.     As captured in YouTube Video 3 and USCP surveillance footage, around 3:08

p.m., MORSS then instructed an individual to the side of the tunnel with a flag to “block out” or

“take out” the camera, while pointing to the USCP camera affixed above the doors in the tunnel,

as shown in the still below with a red box around MORSS. The individual he was speaking to

then began to repeatedly knock out or block the camera with the tip of the flag pole. (This

camera was part of the USCP security footage.)
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       34.     Around 3:10 p.m. as shown on surveillance video, MORSS, who now held a

shield moved away from the front line of rioters and towards the arch. He stayed in the tunnel,

holding the shield, as shown in the still below with a red box around MORSS. MORSS then

passed the shield off to another rioter and once again began pushing with the group in an attempt

to break through the officers guarding the doors.




       35.     As seen in surveillance footage and YouTube Video 1, MORSS then continued to

use his entire body to push against the rioters in front of him as the group tried to use the shields

to push past the officers guarding the door. As can be heard in YouTube Video 1, the group of

rioters all yelled “heave ho” as they pushed in unison against the officers guarding the doors.

(This is shown in the still from YouTube Video 1 below, with MORSS in the red box.) It was

during this time that an MPD officer was being violently crushed against the first set of doors

with a shield held by another rioter, as also captured in YouTube Video 1.
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       36.     Around 3:12 p.m., as captured on surveillance video, MORSS then passed another

shield and also passed what appeared to be a riot style baton off to another rioter behind him, as

shown in the still below with a red box around MORSS. Around 3:14 p.m., MORSS eventually

walked out of the tunnel and back into the crowd, as can be seen in both surveillance footage and

various photos and videos posted online.




       37.     Around 3:48 p.m., as captured in a Parler video posted by ProPublica, MORSS

stood in the crowd near a window to the right of the archway entrance to the Lower West Terrace
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doors into the Capitol. (Multiple other videos online show rioters breaking the window with

various tools over the preceding hour.)

       38.     Then, in a video posted to YouTube, hereinafter YouTube Video 4, MORSS and

other rioters climbed through the broken window into the Capitol, as shown in the still below

with a red box around MORSS. Based on a comparison to surveillance footage showing some of

the same events, this occurred around 4:17 p.m. Multiple other videos posted online captured

the same activity.




       39.     The broken window MORSS climbed through led to a hideaway office for

members of Congress, but was not specifically assigned to anyone on January 6. As captured on

a livestream video from another rioter inside the room, furniture inside the room was toppled

over and scattered, as well as some pieces appearing to be broken. In that video, someone inside

the room can be heard asking for a crowbar and masks, and there are banging sounds. A few of

the rioters were captured still breaking and pulling on a section of the remaining glass left in the

window. (A still from that video is below, with a red box around MORSS.)
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       40.        In another short video, filmed from within that same room by a separate rioter,

MORSS is again visible, as shown in the still below. This video also shows other rioters in the

room including furniture toppled over and scattered about, and legs missing from a desk as well

as the drawers.




       41.        Video posted online showed rioters handing out furniture from the room through

the broken window at different times throughout the unrest. Similar furniture (including what
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appear to be legs of chairs/tables and desk drawers) was then used by other rioters to attack

officers guarding the Lower West Terrace doors, as captured by surveillance and BWC footage.

Around what appears likely to be approximately 4:30 p.m., 1 MORSS can be seen inside the room

and looking out after another window had been broken out, as shown in the media photograph

below with a box around MORSS. At this time, it is unknown what, if any, actions MORSS may

have taken while inside the room.




         42.      In addition, multiple high definition photographs were taken of MORSS by

members of the media that day, including, for example the below photograph from around 2:49

p.m., 2 where scissors and what appears to be a knife can be seen tucked into pockets on his

tactical vest, as shown in the red circles below:




1
  The timestamp listed for this photograph online appears to be one hour fast based on a comparison to surveillance
footage capturing some of the same actions shown in photographs by the same photographer that day.
2
  As with the above, the timestamp listed online for photos by this photographer appear to be one hour fast based on
a comparison to surveillance footage capturing some of the same actions shown in photographs by the same
photographer that day.
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                                            Identification of MORSS

       43.     While conducting their investigation into the events of January 6th, the FBI

requested assistance from the public in identifying people of interest who were suspected of

criminal activity that day. Pictures of subjects from January 6th were shared with the public,

including “Photo 147 – AFO” the screenshot from YouTube Video 1 below. The FBI received a

tip from a witness who only provided their first name and no contact information. This witness

identified Photo 147 – AFO as Robert Morss a Penn State graduate.
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       44.    Official government records indicated that there was a Robert Morss with an

address in State College, Pennsylvania.

       45.    On February 20, 2021, law enforcement interviewed Witness 1 who knows

MORSS personally from multiple close interactions with him in a professional capacity. Law

enforcement showed Witness 1 the three pictures below and asked if Witness 1 recognized this

individual. Witness 1 identified the pictures below as MORSS.




       46.    On February 20, 2021, law enforcement interviewed Witness 2 who knows

MORSS personally in a different professional capacity than Witness 1. (Witness 1 and Witness

2 were interviewed separately and your affiant is not aware of any connection between the two.)

Law enforcement showed Witness 2 the same three pictures above and asked if Witness 2
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recognized this individual. Witness 2 identified the pictures above as MORSS, noting that he/she

was 100% confident that it was MORSS. Witness 2 indicated that law enforcement should reach

out to Witness 3, who also knows MORSS personally in a similar professional capacity as

Witness 2.

       47.     On February 20, 2021, law enforcement interviewed Witness 3 who knows

MORSS personally in a similar professional capacity as Witness 2. Law enforcement showed

Witness 3 the same three pictures above and asked if Witness 3 recognized this individual.

Witness 3 identified the individual in the pictures as MORSS, noting that he/she was 100%

confident that it was MORSS. (Witness 3 also indicated that MORSS may struggle with some

mental health issues due to his time in the military.)

       48.     On February 23, 2021, law enforcement interviewed Witness 4 who knows

MORSS personally from multiple interactions with him in a professional capacity. Law

enforcement showed Witness 4 the same three pictures above and asked if Witness 4 recognized

this individual. Witness 4 identified the individual in the pictures as MORSS, noting that he/she

was 100% confident that it was MORSS.

       49.     Financial records from an account owned by MORSS show spending at what

appears to be a gas station in Falls Church, VA, on January 7, 2021. Similarly, based on a

review of records obtained via a search warrant, MORSS’s Uber account showed travel from

Virginia to Washington, D.C. on the morning of January 6, 2021.

       50.     In addition, your affiant has compared known photographs of MORSS to the

surveillance footage and confirmed that he indeed appears to be the same person.

       51.     The FBI also received nine tips indicating Photograph 147 was someone else

other than MORSS. A review of those complaints revealed the following, four of the tipsters
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alleged photograph 147 “looked like” the person they were reporting on. One tipster advised

photograph 147 “looks very similar,” to the person they reported on. One of the tipsters was

fifty percent sure it was the person they were reporting on but had not seen that person in

approximately 25 years. Another tipster reported on a person who was forty years of age and the

tipster had not seen that person in seven years. Two other tipsters were not certain it was the

person they were reporting on. In all the tips, your affiant was able to acquire pictures believed

to be the person the tipsters were speaking about except for two. The pictures acquired did not

look like Photograph 147. In all the tips received, no tipster provided any corroborating

information that the person they reported on actually traveled to Washington, D.C. and

participated in the riot at the Capitol. 3

                                                 CONCLUSION

         For the reasons set forth above, I submit there is probable cause to believe that MORSS

violated:

    1. 18 U.S.C. § 111, 2 which makes it a crime to forcibly assault or interfere, and aid or abet

         such a forcible assault or interference, with any person designated in section 1114 of this

         title 18 while engaged in or on account of the performance of official duties. Persons

         designated within section 1114 include any person assisting an officer or employee of the

         United States in the performance of their official duties.

    2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to

         obstruct, impede, or interfere with any fireman or law enforcement officer lawfully



3
   Your affiant is not aware of any other information provided to the FBI about Photograph 147 at this time.
However, the FBI is receiving tips from throughout the country on a semi-daily basis about individuals who may
have participated in the events at the Capitol on January 6, 2021 and continue to analysis the backlog of tips already
received.
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   engaged in the lawful performance of his official duties incident to and during the

   commission of a civil disorder which in any way or degree obstructs, delays, or adversely

   affects commerce or the movement of any article or commodity in commerce or the

   conduct or performance of any federally protected function. (“Civil disorder” means any

   public disturbance involving acts of violence by assemblages of three or more persons,

   which causes an immediate danger of or results in damage or injury to the property or

   person of any other individual. “Federally protected function” means any function,

   operation, or action carried out, under the laws of the United States, by any department,

   agency, or instrumentality of the United States or by an officer or employee thereof; and

   such term shall specifically include, but not be limited to, the collection and distribution of

   the United States mails. 18 U.S.C. § 232(1).)

3. 18 U.S.C. § 2112, which makes it a crime to steal or take, by force and violence or by

   putting in fear, from the person and possession of another, personal property of the

   United States; and

4. 18 U.S.C. § 1512(c)(2), which makes it a crime to attempt to corruptly obstruct,

   influence, and impede an official proceeding. (An “official proceeding” includes a

   Congressional proceeding. 18 U.S.C. § 1515(1)(B).)
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As such, your affiant respectfully requests that the court issue an arrest warrant for MORSS. The

statements above are true and accurate to the best of my knowledge and belief.



                                                            Respectfully Submitted,

                                                            __________________
                                                            Charles Rooney
                                                            Special Agent
                                                            Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 10th day of June 2021.
                                                                    2021.06.10
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                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
